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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

PEGGY CERALDI

v.                                             CASE NO. 3:17CV 1628 (WWE) (RMS)

LINDA STRUMPF
U.S. EQUITIES CORP.


                                LOCAL RULE 37 AFFIRMATION

I am counsel for the plaintiff in the within action. I certify, pursuant to 28 U.S.C. §1746, relative

to the discovery disputes in this matter:

1. By June 5, 2018, defendants had provided defective answers and objections to

     interrogatories, production requests and admissions. On June 5, 2018, Defendants retracted

     their settlement agreement and refused to discuss the discovery disputes at an in-person

     conference with Magistrate Judge Fitzsimmons.

2. On June 13, 2018, I pointed out the multiple defects and evasions, including failure to

     comply with discovery rules:


        Assuming you read Vidal and I don’t need to repeat the defects I already called your
        attention to, including failure to comply with production rules.

         Int 4: described but not “identified.” What is the software named? Who has the
        proprietary rights?

         Int. 5-11. Boilerplate objections waived; no affidavit. Please provide. Definitely not
        readily available due to the Judicial System erasure policy, but that is not a federal
        objection anyway. Charter Practices Int'l, LLC v. Robb, No. 3:12CV1768 RNC, 2014
        WL 273855, at *2 (D. Conn. Jan. 23, 2014)

         Int. 13 Boilerplate objections waived; no affidavit. Please provide.

         Int 14 Boilerplate objections waived; no affidavit. Please provide There is no objection
        to form as to interrogatories.
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        Int. 16 Boilerplate objections waived; no affidavit. Please provide the date.

       ( Your clients are well aware that the 24% was not allowed by contract or federal/state
       law.)

        Int. 17 Boilerplate objections waived; no affidavit. Please provide a non-evasive
       response.

        All Production requests: Boilerplate objections waived; no affidavit. Please respond w/o
       boilerplate

        All Admissions: Boilerplate objections waived; no affidavit. Please respond w/o
       boilerplate. No good reason to be so evasive; damages credibility.

        Adm 5, 6: reasonable inquiry not conducted, non-responsive.

       Adm 7: USE does not have and cannot use that corp name in CT; please admit

       Adm 8, non-responsive; reasonable inquiry not conducted/ they know how long USE has
       been licensed.

        Adm. 10. In view of all the lawsuits filed, the denial is specious. No need to be evasive.

        Adm 11, 12. 16: reasonable inquiry not conducted, non-responsive. Just check the CT
       docket and their own records!

        Adm 17-21: See rule 36(a)(1)(a)

       Adm 21. Respond directly, then explain.

       The denials in 22-24 are evasive and specious.

       Adm 26 reasonable inquiry not conducted, non-responsive. Matter of public record
       admitted by your clients in state court proceedings.

        Adm 27. That does not request anything possibly objectionable, and waived by no
       affidavit anyway.



3. Defendants asked for details. On June 13, 2018, plaintiff responded:

       I can see why you did not want to discuss the discovery with Judge Fitzsimmons. Please
       re-read her ruling and comply.
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       Vidal v. Metro-North Commuter R. Co., 2013 WL 1310504 *1-2 (D. Conn. March 28,
       2013)

       In addition, please comply with Rule 34(b)(2)(c) to allow us to have a good faith
       discussion. Also, cross reference to documents must be to specific documents to enable a
       productive discussion.
       “Rule 33 does not permit a party to avoid specific responses to interrogatories by
       reference to undifferentiated masses of documents.” This, LLC v. Jaccard Corp., No.
       3:15-CV-1606(JBA),
       2017 WL 547902, at *3 (D. Conn. Feb. 9, 2017).

       “when a response to a production for documents is not a production or an objection, but
       an answer, the party must answer under oath.”

       Lutes v. Kawasaki Motors Corp., USA, No. 3:10CV1549 WWE, 2014 WL 7185469, at
       *1 (D. Conn. Dec. 16, 2014).

       There are several inconsistencies. For instance, Int 14 denies that it sought fees because it
       was a consumer transaction, but the cited section allows fees only if it is a consumer
       transaction. See also Prod 9, which refers to the cited section as allowing 15% when it
       allows reasonable fees UP TO 15%. And, defendants deny or quibble about exact quotes
       from Strumpf's web site and prior deposition.

       So, please get compliance that far within a week and we can discuss the balance. Thanks.

4. On July 6, 2018, defendants provided “supplemental responses,” without deleting ineffectual

   and unsubstantiated boilerplate objections, but providing a belated affidavit self-adjudicating

   whether the requests were relevant, and, as to the burdensome-to-go-through-files objection,

   claiming that there were over 6,000 collection files and that it would take 15 minutes per file

   to review each file.


5. I responded with a proposal to resolve the “burdensome” objection:

       From the electronic version, I see your clients did not retract some of the boilerplate
       objections that are unsubstantiated, and still cross-reference unidentified documents.
       To resolve the "burdensome" objection, we can limit the request to files that are paying
       and dockets that some action has been taken on from 2016 forward.
       Those are undoubtedly not in storage.
       Then, to reduce the burden further, produce the files to me and will probably spend 5
       minutes on a file for all the "burdensome" responses at once. Don't forget we have a
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       claim for punitive damages.


6. On July 6, 2018, defense counsel replied:    “I will forward your proposal on the discovery to

   my clients and advise.”

7. Despite reminders dated 9/20/2018, 10/29/2018, 2/18/2019, 4/8/2019, 4/26/2019, 8/12/2019,

   8/13/2019, 8/15/2019, and 8/21/2019 (twice), Mr. Rossman has not complied with his

   representation and professional obligations to “forward your proposal on the discovery to my

   clients and advise.”

8. Meanwhile, the parties engaged in intense settlement efforts after defendants reneged on their

   settlement agreement, and extensive go-rounds regarding the “joint” planning report each

   filed on 5/30/19 in anticipation of the issuance of a scheduling order.


I certify under penalty of perjury that the foregoing is true and correct. Executed on September
9, 2019.

                                                _/s/ Joanne S. Faulkner____
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